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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                               :      Case No. 21-CR-108 (TSC)
                                                       :
                v.                                     :
                                                       :
MICHAEL JOSEPH FOY,                                    :
                                                       :
                               Defendant.              :


        JOINT MOTION TO CONTINUE THE STIPULATED TRIAL HEARING

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and the above defendant, by and through his counsel, Elizabeth Mullin,

Esquire (collectively, “the parties”) jointly move this Court to continue the Stipulated Trial

Hearing for the defendant for approximately 30 days or whatever date in consistent with the

Court’s calendar. In support of this motion, the government relies on the following points and

authorities and any other such points and authorities as may be raised at any hearing on this matter.

        1)      The Court previously set the Stipulated Trial Hearing in this matter for March 24,

2023.

        2)      The government needs additional time to submit the finalized proposed Stipulated

Trial paperwork to counsel for the defendant. After which, undersigned counsel for the government

and counsel for the defendant may need a very brief period of time to finalize any additional terms

of the Stipulated Trial. Therefore, the parties request that the Stipulated Trial Hearing be held in

approximately 30 days or whatever date is consistent with the Court’s calendar.

        3)      If granted, the parties will reach out to the Court’s courtroom deputy to obtain the

available date(s) for the Court and parties.

        4)      Consequently, the parties agree that it is in the interest of justice to continue this
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matter for approximately 30 days, and thus request an exclusion of time under the Speedy Trial

Act pursuant to 18 U.S.C. § 3161(h)(7)(A).

       5)      Wherefore, the parties request the Court to continue this matter for approximately

30 days or whatever date is consistent with the Court’s calendar.



                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY

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